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PATENT ASSIGNMENT COVER SHEET

Electronic Version v1.1 EPAS ID: PAT3204501
Stylesheet Version v1.2

SUBMISSION TYPE: CORRECTIVE ASSIGNMENT

NATURE OF CONVEYANCE: Corrective Assignment to correct the ASSIGNOR INFORMATION
SUBMITTED AS LEIGH M. ROTHSCHILD, ASSIGNOR IS ARIEL
INVENTIONS, LLC previously recorded on Reel 034822 Frame 0379.
Assignor(s) hereby confirms the INFORMATION PROVIDED ON THE
NEW COVERSHEET IS TRUE AND CORRECT AND THAT IT IS A TRUE
COPY OF THE ORIGINAL DOCUMENT..

CONVEYING PARTY DATA

Name Execution Date

ARIEL INVENTIONS, LLC 01/25/2015
RECEIVING PARTY DATA
Name: SYMBOLOGY INNOVATIONS, LLC
Street Address: 1400 PRESTON ROAD
Internal Address: SUITE 400
City: PLANO
State/Country: TEXAS
Postal Code: 75093
PROPERTY NUMBERS Total: 3

Property Type Number
Application Number: 14181945
Patent Number: 8651369
Patent Number: 8424752

CORRESPONDENCE DATA
Fax Number: (312)360-9315

Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent
using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.

Phone: 3123600080

Email: docket@gbclaw.net

Correspondent Name: GREER, BURNS & CRAIN LTD.

Address Line 1: 300 SOUTH WACKER DRIVE

Address Line 2: SUITE 2500

Address Line 4: CHICAGO, ILLINOIS 60606
ATTORNEY DOCKET NUMBER: 118533C15;118533C2;11853C3
NAME OF SUBMITTER: ATANU DAS
SIGNATURE: /ATANU DAS/

PATENT
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DATE SIGNED: 01/29/2015

Total Attachments: 6

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PATENT
REEL: 034854 FRAME: 0933
Case: 3:18-cv-00687-wmc Document #:17-5 Filed: 11/21/18 Page 3 of 8

ASSIGNMENT OF PATENT RIGHTS

For good and valuable consideration, the receipt of which is hereby
acknowledged, Ariel Inventions LLC, a Florida corporation limited liability company
having an address at 401 E. Las Olas Boulevard, Suite 1400, Ft. Lauderdale, FL 33301
(“Assignor”), does hereby sell, assign, transfer, and convey unto Symbology
Innovations, LLC, a Texas limited liability company, having an address at 1400 Preston
Road, Suite 400, Plano, TX 75093 (“Assignee”’), or its designees, all right, title, and
interest that exist today and may exist in the future in and to any and all of the following
(collectively, the “Patent Rights”’):

(a) the patent applications and patent listed in the table below (the “Patent’),

Patent or Title of Patent and First Named
Application No. Country Filing Date Inventor
8,424,752 US June 28, 2011 Systerm and method for presenting

information about an object on a
portable electronic device

Leigh M. Rothschild

information about an object on a
portable electronic device

Leigh M. Rothschild

8,651,369 US Apr. 22, 2013 System and method for presenting

information about an object on a
portable electronic device

Leigh M. Rothschild

14/181,945 US Feb. 17, 2014 System and methad for presenting

(b) all patents and patent applications (i) to which the Patent directly or
indirectly claims priority, (11) for which the Patent directly or indirectly forms a basis for
priority, and/or (111) that were co-owned applications that directly or indirectly
incorporate by reference, or were incorporated by reference into, the Patent;

(c) all reissues, reexaminations, extensions, continuations, continuations in

part, continuing prosecution applications, requests for continuing examinations, divisions,
registrations of any item in any of the foregoing categories (a) and (b);

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REEL: 034854 FRAME: 0934
Case: 3:18-cv-00687-wmc Document #:17-5 Filed: 11/21/18 Page 4 of 8

(d) all inventions, invention disclosures, and discoveries described in any item
in any of the foregoing categories (a) through (c) and all other rights arising out of such
inventions, invention disclosures, and discoveries;

(e) all rights to apply in any or all countries of the world for patents,
certificates of invention, utility models, industrial design protections, design patent
protections, or other governmental grants or issuances of any type related to any item in
any of the foregoing categories (a) through (d), including, without limitation, under the
Paris Convention for the Protection of Industrial Property, the International Patent
Cooperation Treaty, or any other convention, treaty, agreement, or understanding;

(f) all causes of action (whether known or unknown or whether currently
pending, filed, or otherwise) and other enforcement rights under, or on account of, the
Patent and/or any item in any of the foregoing categories (b) through (e), including,
without limitation, all causes of action and other enforcement rights for

(i) past, present, and future damages,

(ii) injunctive relief, and

(iii) any other remedies of any kind for past, present, and future infringement;
and

(g) all rights to collect royalties and other payments under or on account of the
Patent and/or any item in any of the foregoing categories (a) through (f).

Assignor represents, warrants and covenants that:

(1)  Assignor has the full power and authority, and has obtained all third party
consents, approvals and/or other authorizations required to enter into the Letter
Agreement and to carry out its obligations hereunder, including the assignment of the
Patent Rights to Assignee; and

(2) Assignor owns, and by this document assigns to Assignee, all nght, title,
and interest to the Patent Rights, including, without limitation, all right, title, and interest
to sue for infringement of the Patent Rights. Assignor has obtained and properly
recorded previously executed assignments for the Patent Rights as necessary to fully
perfect its rights and title therein in accordance with governing law and regulations in
each respective jurisdiction. The Patent Rights are free and clear of all liens, claims,
mortgages, security interests or other encumbrances, and restrictions. There are no
actions, suits, investigations, claims or proceedings threatened, pending or in progress
relating in any way to the Patent Rights. There are no existing contracts, agreements,
options, commitments, proposals, bids, offers, or rights with, to, or in any person to
acquire any of the Patent Rights.

Assignor hereby authorizes the respective patent office or governmental agency in
each jurisdiction to issue any and all patents, certificates of invention, utility models or

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REEL: 034854 FRAME: 0935
Case: 3:18-cv-00687-wmc Document #:17-5 Filed: 11/21/18 Page 5of 8

other governmental grants or issuances that may be granted upon any of the Patent Rights
in the name of Assignee, as the assignee to the entire interest therein.

Assignor will, at the reasonable request of Assignee and without demanding any
further consideration therefore, do all things necessary, proper, or advisable, including
without limitation, the execution, acknowledgment, and recordation of specific
assignments, oaths, declarations, and other documents on a country-by-country basis, to
assist Assignee in obtaining, perfecting, sustaining, and/or enforcing the Patent Rights.
Such assistance will include providing, and obtaining from the respective inventors,
prompt production of pertinent facts and documents, giving of testimony, execution of
petitions, oaths, powers of attorney, specifications, declarations or other papers, and other
assistance reasonably necessary for filing patent applications, complying with any duty of
disclosure, and conducting prosecution, reexamination, reissue, interference or other
priority proceedings, opposition proceedings, cancellation proceedings, public use
proceedings, infringement or other court actions and the like with respect to the Patent
Rights.

The terms and conditions of this Assignment of Patent Rights will inure to the

benefit of Assignee, its successors, assigns, and other legal representatives and will be
binding upon Assignor, its successors, assigns, and other legal representatives.

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REEL: 034854 FRAME: 0936
Case: 3:18-cv-00687-wmc Document #:17-5 Filed: 11/21/18 Page 6 of 8

IN WITNESS WHEREOF this Assignment of Patent Rights is executed at Miami
on January 25, 2015

ASSIGNOR:

te

By:

PATENT
REEL: 034854 FRAME: 0937
1/29/2015

Case: 3:18-cv-00687-wmc Documentssiginferd Filed: 11/21/18 Page 7 of 8

PATENT ASSIGNMENT COVER SHEET

Electronic Version v1.1
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Name 4 Execution Date
ILEIGH M. ROTHSCHILD 01/25/2015
RECEIVING PARTY DATA

iName: ‘SYMBOLOGY INNOVATIONS, LLC

‘Street Address: 1400 PRESTON ROAD

Internal Address: ||SUITE 400

iCity: PLANO
iState/ Country: TEXAS
Postal Code: 175093

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Address Line 1: 300 SOUTH WACKER DRIVE
Address Line 2: SUITE 2500

Address Line 4: CHICAGO, ILLINOIS 60606

ATTORNEY DOCKET NUMBER: 118533C1;118533C2;11853C3

NAME OF SUBMITTER: ATANU DAS

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1/29/2015 Case: 3:18-cv-00687-wmc Documentstiginfetd Filed: 11/21/18 Page 8 of 8

Signature:

/ATANU DAS/

Date:

01/27/2015

Total Attachments: 4

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RECEIPT INFORMATION

EPAS ID: PAT3199704
Receipt Date: 01/27/2015

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RECORDED: 01/29/2015

EEL: 034854 FRAME: 0939
